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 MANAGING FEDERAL EMPLOYEES’ PERFORMANCE ISSUES
                OR MISCONDUCT
Overview:

One of the biggest challenges facing Federal sector managers and supervisors is taking
swift action to manage employees who are not meeting performance expectations and not
contributing to agency goals. Managers and supervisors may not be making full use of
the many options to deal with employees with performance or conduct issues. Managers
and supervisors may take actions against employees, up to and including removal from
Federal employment, for job performance deficiencies and/or misconduct.

This guidance provides agency human resources offices, managers, and supervisors with
a broad overview of the different tools that can be used to manage employees’ job
performance and address unacceptable performance or misconduct. This overview of
authorities under title 5, United States Code, is not meant to be a comprehensive guide
that addresses every possible incident of misconduct or performance problems as each
situation will vary depending on the facts involved. Also, individual agencies may have
unique statutory authorities and guidelines for addressing misconduct or performance
problems. However, it does highlight the tools generally available to Executive Branch
managers and supervisors for addressing misconduct or performance problems. You
should consult with your human resources office to determine which tools are applicable
to your agency.

This guidance addresses both members of the Senior Executive Service (SES) and non-
SES Federal employees. For employees who are covered by bargaining units, negotiated
agreements with the applicable labor unions may contain time limits or other procedures
that should be followed when taking action regarding bargaining unit employees, but
these procedures must be consistent with the requirements of Title 5, United States Code.

Actions That Can Be Taken to Avoid Performance or Conduct Issues:

The best way for managers and supervisors to handle performance and conduct issues is
to take action to avoid performance problems or conduct issues before they occur. Such
preventive actions include, but are not limited to:

      Communicate clear performance standards and expectations to employees. If
       your employees do not understand what is expected, it will be very hard, if not
       impossible, for them to meet those expectations. Providing clear expectations
       does not necessarily require you to lay out precisely written, detailed instructions
       on every performance component but should provide expectations with enough
       clarity and specificity so that employees understand their responsibilities and can
       be held accountable for them. Generally, the question you should ask in drafting
       performance standards: “Would a reasonable person understand what was
       expected?”

      Provide regular and consistent feedback on performance. Such feedback, both
       positive and corrective, whether given in regularly scheduled meetings or in
       unscheduled discussions, is crucial to ensuring that expectations are understood.
                                             1
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           Consistent feedback lessens the likelihood that an employee will be surprised if it
           becomes necessary to take formal steps to resolve unacceptable performance.
           Always look for opportunities to confirm that your employees understand what is
           expected.

          Reward and recognize good performance, informally and formally.
           Recognizing good performance is simply another way to clarify and reinforce
           expectations. Recognizing good performance boosts morale and also increases
           the likelihood that good performance will continue.

          Make full use of the probationary period for employees. Performance problems
           often first show up during the initial period of Government employment. This
           period is designed to provide an opportunity for managers and supervisors to
           address such problems in an expedient manner. Furthermore, removing
           probationary employees based on conduct and performance issues is less
           cumbersome as they are not entitled to most of the procedures and appeal rights
           granted to employees who have completed probationary/trial periods. More
           information on the probationary or trial period is discussed in more detail later in
           this guide.

          Set the desired example by the manager’s or supervisor’s own conduct.
           Employees often follow the lead of their managers and supervisors.
           Demonstrating leadership through clear communication, taking initiative and
           being inclusive can set the tone for an office.

          Maintain a good work atmosphere. Creating inclusive work environments where
           the workforce is fully engaged can be a critical enabler of organizational success
           and performance.

          Assure that employees conform to any applicable standards of conduct. Public
           service is a public trust. To ensure that every citizen can have complete
           confidence in the integrity of the Federal Government, Federal employees are
           expected to adhere to certain principles of ethical conduct.1 Additionally, Federal
           employees are expected to conform to standards of conduct established by
           Government-wide and agency policies. 2

          Maintain effective lines of communication with the Human Resources Office
           and Agency Legal Office. While managers and supervisors are ultimately
           responsible for addressing performance and misconduct problems, they are not
           expected to be subject matter experts on application of the tools discussed in this
           guidance. The Human Resources Office and Agency Legal Office are available
           to advise, assist and guide managers and supervisors through the available
           processes for addressing performance and conduct issues.
1
    See 5 C.F.R. Part 2635.
2
    See 5 C.F.R. Part 735.

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Addressing Performance or Conduct Issues of Non-SES Employees during the
Probationary Period:

Employees newly hired into the Federal Government and into a competitive service
position are generally required to serve a 1-year probationary period.3 The probationary
period is an important management tool to evaluate the conduct and performance of an
employee and should be treated as the last step in the hiring process. Appropriate actions
taken within the probationary period are the best way to avoid long-term problems.

Employees may be terminated from employment during the probationary period for pre-
employment reasons or for unacceptable performance or conduct.4 When removal is
based on pre-employment issues, the employee is given advance notice, an opportunity to
provide an explanation of the events related to pre-employment issues and an agency
decision.5 When the basis for termination is unacceptable performance or conduct,
advance notice of the intent to terminate is not required. However, the employee must be
informed in writing of the reason for the summary termination. In either case,
probationary employees have limited appeal rights, and also have Equal Employment
Opportunity (EEO) rights to challenge an action that is believed to have been taken for a
discriminatory reason. An employee may also seek corrective action with the U.S. Office
of Special Counsel (OSC) if he or she believes the action was taken because of a
prohibited personnel practice.

Effective use of the probationary period is an ideal way to avoid long-term problems.
The U.S. Government Accountability Office (GAO) has concluded there are benefits of
using automated notifications to notify supervisors that an individual’s probationary
period is ending and that the supervisor needs to make an affirmative decision or
otherwise take appropriate action.6 OPM agrees automated and timely notifications to
supervisors can be a useful tool for agencies regarding probationary periods and should
be used to the extent they are appropriate and available.7

Addressing Performance or Conduct Issues of Supervisory Employees during the
Supervisory Probationary Period (Non-SES):

Employees initially appointed to supervisory positions are required to serve a
probationary period prescribed by the agency.8 The purpose of the supervisory
probationary period is to provide the agency an opportunity to assess the supervisory

3
  There are other circumstances in which an employee would be required to serve a probationary period.
Your Human Resources Office can help you determine if an employee is on a probationary period.
4
  See 5 C.F.R. §§ 315.803 and 804.
5
  See 5 C.F.R. § 315.805.
6
  GAO-15-191, Improved Supervision and Better Use of Probationary Periods Are Needed to Address
Substandard Employee Performance, February 2015.
7
  All Shared Service Centers have confirmed to OPM that their existing HR systems already contain the
functionality to automatically notify supervisors of the end of the individual’s probationary period for
appropriate management action. It is each agency’s decision whether to utilize this functionality.
8
  See 5 C.F.R. Part 315, Subpart I.

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performance (not technical ability or program knowledge) of the new supervisor. At the
end of the probationary period, the agency determines whether to retain that individual as
a supervisor or to return the individual to a non-supervisory position.

Agencies should monitor the performance of their probationary supervisors and provide
them training, coaching, and feedback. Use of the supervisory probationary period to
identify ineffective supervisors is critical to organizational performance because of the
great impact supervisors have on the performance of the workforce. Therefore, agencies
need to hold managers accountable for using the supervisory probationary period wisely
as the final step in the selection process.

Addressing Performance of Non-SES Employees after the Probationary Period:

Communication is the key to addressing issues early and taking appropriate action when
necessary. Allowing a job performance issue to fester simply compounds the issue and
makes it more difficult to address.

Managing Employee Performance9:

To effectively manage employee performance, supervisors should:

       Encourage employee participation in the performance planning process;
       Issue a performance plan outlining the critical and any non-critical job element(s)
        and performance standards against which his or her actual job performance will
        be appraised;
       Discuss performance expectations so employees understand their job duties and
        how they should be performed;
       Continually monitor performance, conduct at least one formal progress review,
        and provide ongoing feedback throughout the rating cycle;
       Periodically review performance standards and revise them as necessary to ensure
        that standards are attainable, accurate, and effectively communicate performance
        expectations; and
       Communicate with employees when deficiencies are first noted. Do not wait until
        the end of the rating cycle to address concerns.10




9
 If bargaining unit employees are involved, supervisors should consult with labor relations staff when
drafting and issuing performance standards; conducting performance meetings; and issuing final ratings to
determine whether any labor relations obligations exist with the local union(s).
10
   There is a variety of useful, cost-free training courses available to supervisors and managers on HR
University (HRU.gov) that can assist on a wide range of employee performance management issues. For
example, an online course entitled “Addressing and Resolving Poor Performance” can be found at:
http://www.hru.gov/course_catalog.aspx?cid=161&mgr=false.

                                                    4
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Addressing Unacceptable Job Performance:

If an employee’s job performance becomes unacceptable under a critical job element,
supervisors should promptly address this matter with the employee. There are two formal
procedures a supervisor may use in resolving unacceptable performance: Chapter 43 and
Chapter 75 of Title 5 of the U.S. Code.

At the earliest opportunity, the supervisor should work with the Human Resources Office
Employee Relations staff to determine the appropriate procedure for resolving the poor
performance and whether placing the employee on a Performance Improvement Plan
(PIP) under 5 U.S.C. Chapter 43, a specific measurable action plan, is appropriate. 11

The Employee Relations staff will also guide the supervisor on the specific regulatory
requirements of the process and assist in providing a good foundation from the onset. If a
PIP is appropriate, the supervisor should work with the Employee Relations staff to draft
the PIP and determine how long the PIP will last; its duration will generally depend on
the duties and responsibilities of the employee’s position and the nature of the
unacceptable performance. A PIP should include the following:

        The critical job element(s) being performed unacceptably;
        Examples of the employee’s unacceptable performance under each critical
         element (not required but recommended);
        An explanation of the minimally acceptable level of performance required;
        An explanation of what the employee must do to demonstrate acceptable
         performance;
        Specific tools and support to be provided to help the employee improve during
         this period as required under 5 CFR 432.104;
        How long the PIP will remain in effect; and
        Consequences of failure to improve performance to an acceptable level.

The PIP notice may also advise the employee if he or she believes a personal problem is
contributing to performance deficiencies, he or she may contact an Employee Assistance
Program counselor. If the employee believes a medical condition is contributing to
performance deficiencies, he or she may submit documentation for consideration.

During the PIP opportunity period, the supervisor should document assignments and
instructions provided to the employee. Additionally, the supervisor should document
assistance provided to the employee as well as monitor the employee’s performance to
determine if it rises to an acceptable level.




11
  Unlike removals initiated under 5 U.S.C. Chapter 43, Performance Improvement Plans (PIPs) are not
required prior to initiating an action under 5 U.S.C. Chapter 75.

                                                   5
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Taking a Performance-Based Action under 5 U.S.C. Chapter 43:

If an employee’s job performance does not improve to an acceptable level at the
conclusion of the PIP, the supervisor, in consultation with the employee relations staff as
appropriate, should promptly determine the action to take. The supervisor’s options
include reassigning the employee, or proposing the employee’s demotion or removal.
Reassignment to a position at the same wage grade is a management right distinct from
adverse and performance-based actions and can be accomplished with a simple
notification and personnel action.

If a supervisor intends to reassign a bargaining unit employee, they should confirm with
employee relations staff if there are collective bargaining obligations prior to informing
the employee of the reassignment. Performance-based reductions in grade and removal
actions can be appealed to the U.S. Merit Systems Protection Board (MSPB). If the
employee belongs to a bargaining unit and the reduction in grade or removal falls within
the coverage of a negotiated grievance procedure, the employee may file an appeal or
grievance, but not both.12

In addition, an employee who believes a performance-based action was taken for a
discriminatory reason may either file an EEO complaint or raise a prohibited personnel
practice as an affirmative defense in an MSPB appeal. An employee may also seek
corrective action with the U.S. Office of Special Counsel (OSC) if he or she believes the
action was taken because of a prohibited personnel practice.

If the employee is being demoted or removed from the Federal service under 5 CFR Part
432, the following steps must be followed:

     1. Issue a written proposed notice at least 30 calendar days prior to the proposed
        effective date of demotion or removal from Federal employment. This notice will
        state the regulation under which the action is being taken, specify critical
        element(s) failed, provide specific examples of unacceptable performance,
        discuss the performance improvement plan, and inform the employee of his or her
        rights;
     2. The employee may be represented by an attorney, union office, or another person
        authorized by the employee and permitted by 5 C.F.R. § 432.105(a)(4)(iii). ;13
     3. The employee may review the material relied on in support of the proposed
        action;
     4. The employee may submit medical documentation if he or she believes a medical
        condition has contributed to the unacceptable performance;14 and


12
   See 5 U.S.C. § 7121(g)(2).
13
   An agency may disallow as an employee’s representative an individual whose activities as a
representative would cause a conflict of interest or position or an employee whose release from his or her
official position would give rise to unreasonable costs to the Government or whose priority work
assignments preclude his or her release from official duties. See 5 C.F.R. § 432.105(a)(4)(iii).
14
   See 5 C.F.R. § 432.105(a)(4)(iv).

                                                     6
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       5. After the proposal notice has been issued and the 30-day advance notice period
          ends, a deciding official (a person higher in the chain of command than the
          proposing official in accordance with the agency’s delegations of authority)
          reviews the proposal notice, supporting evidence, and considers any response
          provided by the employee and/or the employee’s representative in order to reach a
          final decision. A final written decision to demote or remove an employee must
          inform the employee of any appeal or grievance rights he or she may have.
       6. The agency will maintain copies of the notice of proposed action, the employee’s
          written reply, a summary of the employee’s oral reply, if any, the decision notice,
          and any supporting material.

Other Considerations:

      If the individual requests a reasonable accommodation related to a disability that they
       assert is necessary in order to permit them to attain acceptable performance, the
       agency must assess the appropriateness of the request and provide reasonable
       accommodation as required by law. This would apply to any stage of the process
       prior to final action being taken, including if a PIP has already been issued. If an
       accommodation is deemed reasonable and necessary, the agency should give the
       employee an opportunity to demonstrate acceptable performance with the
       accommodation before it continues the PIP, if the PIP is ongoing at the time the
       employee informs the agency of his or her disability, or takes further action, if final
       action has not yet been completed. It should be noted, however, that the agency is not
       required to modify the essential functions of a position based on a request for a
       reasonable accommodation and further, is permitted to hold disabled employees with
       reasonable accommodation to the same standards for performance as non-disabled
       employees with regard to the essential functions of their position. Most agencies
       have a reasonable accommodation manager who can provide guidance concerning
       how to pursue these steps.

      Upon successfully completing a PIP, an employee must maintain an acceptable level
       of performance in the same critical job element(s) for 1 year beginning with the date
       on which the PIP began. If the employee does not, he or she may be removed or
       demoted for unacceptable performance.

Taking an Adverse Action for Performance under 5 U.S.C. Chapter 75:

Supervisors and managers may also address unacceptable performance through an
adverse action under Chapter 75 instead of a Chapter 43 performance-based action.15
Unlike Chapter 43 actions, Chapter 75 actions do not have many of the formal
requirements such as notice that the employee’s performance deficiency is based on a
critical element and an opportunity to improve period. The requirements for Chapter 75
actions, are described under “Addressing Non-SES Employee Misconduct” below.16


15
     See, e.g., Lovshin v. Dep’t of the Navy, 767 F.2d 826 (Fed. Cir. 1985).
16
     See Fairall v. Dep’t of Veterans Affairs, 844 F.2d 775 (Fed. Cir. 1987).

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To assist you in determining the best approach for you and your agency, we are providing
a side-by-side comparison highlighting the differences between addressing unacceptable
performance under Chapter 43 versus Chapter 75. Each approach has unique
requirements. While addressing unacceptable performance under Chapter 75 is generally
viewed as a more streamlined approach, the facts of each case and the nature and
strength of your evidence will be determining factors in deciding under which authority
to take your action.




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                                Chapter 43                             Chapter 75
Critical Element            Agency must prove the              Agency is not required to prove
                            performance deficiency is in a     the performance deficiency is
                            critical element.                  in a critical element.

Establishment of            When the employee’s                The extent to which an
Performance Expectations    performance in one or more         employee is on notice of the
                            critical elements is               agency’s expectations is a
                            unacceptable, the employee         factor in determining the
                            will: (1) be notified of the       appropriateness of the penalty.
                            deficiency; (2) be offered the     Also, an agency cannot require
                            agency’s assistance to improve;    that an employee perform
                            and (3) be warned that             better than the standards that
                            continued poor performance         have been communicated to the
                            could lead to a change to lower    employee.
                            grade or removal. (This is
                            commonly referred to as the
                            PIP, an abbreviation for both
                            performance improvement plan
                            and also for performance
                            improvement period.)

Decline Following           If the employee’s performance      A PIP is not required.
Improvement                 improves during the PIP, and
                            remains acceptable for 1 year, a
                            new PIP is necessary before
                            taking an action under this
                            chapter.
Efficiency of the Service   Agency is not required to prove    Agency must prove that the
                            that the personnel action will     personnel action will promote
                            promote the efficiency of the      the efficiency of the service.
                            service.

Burden of Proof             Action must be supported by       Action must be supported by a
                            substantial evidence: that a      preponderance of the evidence:
                            reasonable person might find      that a reasonable person would
                            the evidence supports the         find the evidence makes it
                            agency’s findings regarding the more likely than not that the
                            poor performance, even though agency’s findings regarding the
                            other reasonable persons might poor performance are correct.
                            disagree.
Advance Notice              The agency must provide a notice of proposed action 30 days
                            before any action can be taken, and must provide the employee
                            with a reasonable opportunity to reply before a decision is made
                            on the proposal.




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                                Chapter 43                              Chapter 75
Content of Advance Notice   The notice must state the          The notice must state the
                            specific instances of              specific instances of poor
                            unacceptable performance that      performance that are the basis
                            are the basis for the action and   for the action.
                            also the critical performance
                            element involved.

Deciding or Concurring      A person higher in the chain of    The deciding official does not
Official                    command than the person who        have to be a person higher in
                            proposed the action must           the chain of command than the
                            concur.                            person who proposed the
                                                               action.

Agency Decision             Agency must issue a final          Agency is under no particular
                            decision within an additional      time constraint, other than there
                            30 days of the expiration of the   cannot be a delay so extensive
                            30 days advance notice period.     that it constitutes an error that
                                                               harms the employee.

Penalty Mitigation          Once the agency meets the          After finding that the agency
                            requirements to take an action,    meets the requirements to take
                            the MSPB cannot reduce the         a Chapter 75 action, the MSPB
                            agency’s penalty.                  may reduce the agency’s
                                                               penalty.

Douglas Factors             The Douglas factors are not        The agency must consider the
                            used.                              relevant Douglas factors when
                                                               reaching a decision on the
                                                               appropriate penalty.

Time Limits                 Time limited to performance        No time limit for inclusion of
                            deficiencies occurring within      “incident/charges.”
                            the 1 year prior to the proposal
                            notice.

Affirmative Defenses        The agency action will not be sustained if the employee was
                            harmed by the agency’s failure to follow procedures, if the agency
                            decision was reached as a result of the commission of a prohibited
                            personnel practice, or if the decision is otherwise not in
                            accordance with the law.




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     MANAGING FEDERAL EMPLOYEES’ PERFORMANCE ISSUES
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Addressing Non-SES Employee Misconduct:

Managers are responsible for notifying their employees about the rules of behavior in the
organization, including written guidance, policies or laws. It is imperative that Federal
agencies manage their workforces effectively, which involves the effective use of
discipline when addressing employee misconduct.

Generally, the objective of discipline is to correct deficiencies in employee conduct and
performance, not to punish the employee. Discipline can deter misconduct and correct
situations interfering with the efficiency of civil service. Documenting misconduct is
also imperative to support any conduct-based action and in the event that progressive
discipline is initiated based on repeated misconduct. Conduct-based actions are
important tools designed to aid supervisors in maintaining an efficient and orderly work
environment. Further, misconduct should be addressed when deficiencies are first noted,
when, for example, an employee refuses or fails to comply with a rule, regulation or law
within the workplace. Determining the appropriate course of action is ultimately
management’s responsibility. Lastly, managers should consult with employee relations
staff for help in navigating technical or complex laws, regulations, and collective
bargaining agreements and when considering available options.

Managers should take discipline that is reasonable and proportionate to the misconduct.
One of the most difficult determinations for managers is selecting the penalty. Several
factors come into play in determining an appropriate penalty. Penalties should be
reasonably consistent with the discipline applied to similarly situated employees. In
other words, where the charges and the circumstances surrounding the charged behavior
are substantially similar for two employees, and there are no considerations that would
warrant treating them differently, the penalties should be comparable. The supervisor
should also weigh any relevant aggravating and mitigating factors that may be relevant
such as the nature and severity of the offense, the employee’s disciplinary record and
years of service, the employee’s potential for rehabilitation, and applicable agency
penalty guidelines. These factors are part of the 12 Douglas factors to be taken into
consideration whenever a disciplinary action is contemplated.17

Penalties for misconduct range from lesser disciplinary actions such as oral and written
reprimands, letters of warning, letters of counseling, and suspensions (14 calendar days
or less) to more severe adverse actions such as suspensions (more than 14 calendar days
or indefinite suspensions under certain defined circumstances), involuntary reductions in
grade or pay, and removals. Effective lesser disciplinary measures are usually covered
under agency policies, may be grievable depending on the agency’s administrative or
negotiated grievance processes, and may be issued with fewer procedural requirements.
However, penalties for more severe adverse actions have certain statutory and regulatory
procedural requirements that agencies must follow.



17
     See Douglas v. Veterans Administration, 5 M.S.P.R. 280 (1981).


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Suspensions of 14 Days or Less

Certain employee misconduct can result in suspensions of 14 days or less. A suspension
of 14 days or less is a non-appealable adverse action; therefore, this action cannot be
directly appealed to the MSPB. However, the employee may grieve the action through an
agency’s administrative grievance procedure. If the employee belongs to a bargaining
unit and the suspension falls within the coverage of a negotiated grievance procedure, the
employee may file a grievance only under that procedure. Alternatively, the employee
may file an EEO complaint challenging the disciplinary action if they allege that it was
imposed on a legally prohibited basis such as age, gender or race discrimination. An
employee may also seek corrective action with the U.S. Office of Special Counsel (OSC)
if he or she believes the action was taken because of a prohibited personnel practice.

After the supervisor consults with employee relations staff and it is determined that a
short suspension is appropriate, the following steps must take place:

       1) The supervisor (or designated official where applicable) will issue a written notice
          of proposed suspension stating the reasons for the proposed action and informing
          the employee of his or her right to review the material relied upon to support the
          reasons for action provided in the notice;
       2) The employee must be given a reasonable time, but no less than 24 hours, to
          submit a written and/or oral reply to the proposal letter, at the employee’s
          discretion, and provide supporting documentation;
       3) The employee may choose to have a representative. The representative may be a
          union official if the employee is a member or a bargaining unit. The employee
          may not choose another employee as their representative, however, if the
          representation will cause a conflict of interest or position, or an employee of the
          agency whose release from his or her official position would give rise to
          unreasonable costs or for whose priority work assignments preclude his or her
          release from official duties;18 and
       4) A deciding official (often a higher level manager than the proposing official)
          reviews the documentation and any reply provided by the employee, and
          determines whether or not the discipline is warranted and issues a decision. In
          arriving at a decision, the deciding official may consider only the reasons
          specified in the notice of proposed action and in the employee or employee
          representative’s answer. The decision notice will specify reasons for the decision,
          determine the level of discipline to be imposed after considering mitigating and
          aggravating factors, and advise the employee of grievance and any other
          applicable appeal rights.




18
     See 5 C.F.R. § 752.203(d).

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Suspensions for more than 14 Days (including indefinite suspensions), Reduction in
Grade or Pay, Removals from the Federal Service

For more serious or repeated misconduct, supervisors may impose penalties that are
appealable adverse actions. Suspensions for more than 14 days (including indefinite
suspensions under certain defined circumstances), reductions in grade or pay and
removals may be appealed to the MSPB, grieved through a collective bargaining
agreement if the employee is a member of a union or, alternatively, the employee may
file an EEO complaint challenging the disciplinary action if they allege that it was
imposed on a legally prohibited basis such as age, gender or race discrimination. An
employee may also seek corrective action with the U.S. Office of Special Counsel (OSC)
if he or she believes the action was taken because of a prohibited personnel practice.

Supervisors should work with their employee relations staff and legal office when
considering these actions. The following steps must take place if it is determined that an
adverse action is appropriate:

      1. The supervisor will issue a written notice of proposed action, which will be
         effective no earlier than 30 calendar days from the date of the proposal, if the
         action is found warranted by the deciding official. This notice will state the reasons
         for the proposed action and inform the employee of his or her right to review the
         material relied upon to support the reasons for action provided in the notice.
      2. The employee must be given a reasonable time but not less than 7 days to submit a
         written and/or oral reply to the proposed notice, at the employee’s discretion, and
         provide supporting documentation.
      3. The employee may choose to have a representative. The representative may be a
         union official if the employee is a member or a bargaining unit. The employee
         may not choose another employee as their representative, however, if the
         representation will cause a conflict of interest or position, or an employee of the
         agency whose release from his or her official position would give rise to
         unreasonable costs or for whose priority work assignments preclude his or her
         release from official duties.19
      4. The employee may submit medical documentation if the employee wishes for the
         agency to consider any medical conditions which may contribute to the misconduct
         or performance problem. It should be noted, however, that the agency may hold
         disabled employees with reasonable accommodation to the same standards of
         conduct as non-disabled employees;
      5. A deciding official (often a higher level manager than the proposing official)
         reviews the proposal, supporting documentation, medical documentation if
         submitted, and any reply provided by the employee. In arriving at a decision, the
         deciding official may consider only the reasons specified in the notice of proposed
         action and in the employee or employee representative’s answer;
      6. In assessing whether the proposed adverse action based on the misconduct
         promotes the efficiency of the service, the deciding official determines whether the

19
     See 5 C.F.R. § 752.404(e).

                                               13
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        charges are supported, and if so, whether the proposed penalty is warranted, after
        taking into consideration mitigating and aggravating factors, and issues a written
        decision letter stating the deciding official’s conclusion as to the appropriate
        action. The decision letter will inform the employee of any appeal or grievance
        rights he or she may have if discipline is taken; and
     7. The agency will maintain copies of the notice of proposed action, the employee’s
        written reply, a summary of the employee’s oral reply, if any, the decision notice,
        and any supporting material. The agency will furnish these documents to the
        MSPB, other reviewing authority, and the employee upon his or her request.

Excused Absence (Administrative Leave) – to Be Used in Rare Circumstances

Excused absence (administrative leave) is an administratively authorized absence from
duty without loss of pay and without charge to other paid leave and is considered part of
an employee's basic workweek. The authority to grant an excused absence derives from
the inherent authority for heads of agencies to prescribe regulations for the government of
their organizations. (See, e.g., 5 U.S.C. §§§ 301-302).

OPM advises limiting the approval of excused absence.20 Where absences are for longer
than brief periods, excused absence is generally inappropriate. Approving officials
should also ensure that the granting of excused absence is not specifically prohibited by
law.

In rare circumstances, excused absence may be used for an employee while suspension or
removal procedures have been proposed. Specifically, the employee may be placed in a
paid, non-duty status for the time necessary to effect the adverse action if the
organization determines that the employee's continued presence on the job during the
notice period may:

        Pose a threat to the employee or others;
        Result in loss or damage to Government property; or
        Jeopardize legitimate Government interests.

However, OPM strongly recommends agencies consider other options prior to use of
excused absence in this scenario. Other options include:

        Assigning the employee to duties where he or she is no longer a threat to safety,
         the agency mission, or Government property;
        Allowing the employee to take leave, or carrying him or her in an appropriate
         leave status (annual, sick, leave without pay) or absence without leave (if the
         employee has absented himself or herself from the worksite without requesting
         leave); or


20
  See OPM Fact Sheet: Administrative Leave at: https://www.opm.gov/policy-data-oversight/pay-
leave/leave-administration/fact-sheets/administrative-leave/

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        Curtailing the advance notice period for the proposed adverse action when the
         agency can invoke the "crime provisions" under Title 5, United States Code,
         because it has reasonable cause to believe the employee has committed a crime
         for which a sentence of imprisonment may be imposed and is proposing a
         removal or suspension.

Addressing Performance Deficiencies in the Senior Executive Service21:

During Probation:

An individual’s initial career SES appointment becomes final only after the individual
completes a 1-year probationary period. Agencies use this period to observe and
evaluate the appointee’s performance. If an agency finds the probationer’s performance
unacceptable, it should consider whether to take remedial action, such as specialized
training or assignment to other SES duties. If remedial action is not considered
appropriate or proves unsuccessful, the agency should take steps to remove the employee
from the SES. Removal is not required to be based on a final rating during a probationary
period. Even if the agency uses a final rating under an SES performance appraisal system
to document performance deficiencies, removal of a probationer is always done under the
following procedures.22

An agency must provide at least a 1-day advance written notice to the probationer and
make the removal effective prior to the conclusion of the probationary period. The notice
must include the following:

        The effective date of the action;
        The agency’s conclusions as to the inadequacies of the probationer’s
         performance; and
        Whether the probationer has placement rights to another position outside the SES
         and, if so, to what position.

Probationers who were appointed to the SES without a break in service from a civil
service position held under a career or career-conditional appointment or an appointment
of equivalent tenure, such as certain appointments in the excepted service, are guaranteed
placement in a position at GS-15 or higher.23 These appointees are also entitled to be
placed in a position of equivalent tenure to that of the appointment held at the time of
appointment to the SES. Those lacking this right may be removed from employment in
the Federal service. Removal of a probationary career SES appointee for performance
reasons is not appealable to the MSPB.24 SES appointees have the same EEO and OSC

21
   Some agencies, such as the Department of Veterans Affairs, may have unique statutory authority for
addressing performance and misconduct for Senior Executives. We recommend you consult with your
agency human resources or legal offices for additional information.
22
   5 C.F.R. § 359.402.
23
   5 U.S.C. § 3594(a); 5 C.F.R. § 359.701(a).
24
   5 C.F.R. §359.407.

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rights as other employees, however, to challenge an action they believe was taken based
upon illegal discrimination or a prohibited personnel practice.

After Probation:

Removal of a non-probationary career SES member for performance must be based on
the appointee’s final SES rating(s).25 The final SES rating is normally the annual
summary rating prepared for an executive at the end of an appraisal period. However, an
agency is also authorized to end a senior executive’s appraisal period at any time after the
agency’s minimum appraisal period is completed, if there is an adequate basis on which
to appraise and rate the senior executive’s performance, and prepare a rating of record
using the same process required for an annual summary rating.26 Such a rating of record
is also a final SES rating and may serve as the basis, or part of the basis, for a removal
action. If a career appointee receives one final rating of “unsatisfactory,” he or she must
be reassigned or transferred within the SES, or removed from the SES. An agency must
remove a career appointee from the SES when the appointee receives the following final
ratings:

          Two ratings of “unsatisfactory” within 5 consecutive years; or
          Two less than fully successful ratings (i.e., “minimally satisfactory” or
           “unsatisfactory”) within 3 consecutive years.

The agency must give the career member a written notice at least 30 calendar days before
the effective date of removal from the SES. This notice must include:

          The effective date of the removal;
          The basis for the removal, as documented in the annual summary performance
           rating(s) used to support the removal action;
          The member’s right to be placed in a position outside the SES, and information
           about the new position, if available;
          The member’s right to request an informal hearing before an official designated
           by the MSPB; and
          When applicable, the appointee’s eligibility for immediate retirement under 5
           U.S.C. §§ 8336(h) or 8414(a).

Career appointees do not have appeal rights to the MSPB for a performance-based
removal action from the SES. While the appointee may request an informal hearing with
the MSPB, this request does not delay the removal from the SES. The SES member may
also initiate an EEO or OSC complaint challenging an action that is believed to have been
taken based upon illegal discrimination or a prohibited personnel action.




25
     5 C.F.R. §359 Subpart E.
26
     5 U.S.C. § 4314(b)(1)(D); 5 C.F.R. § 430.304(b).

                                                        16
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All non-probationary career SES members removed for less than fully successful
performance are entitled to be placed in a civil service position outside the SES.27 Those
who were appointed to the SES without a break in service from a civil service position
held under a career or career-conditional appointment or an appointment of equivalent
tenure, such as certain appointments in the excepted service, are guaranteed placement in
a position at GS-15 or higher under an appointment of tenure equivalent to that held
immediately prior to the initial career SES appointment. If the agency has no other
available appointment authority, the agency may use the authority provided at 5 C.F.R.
§ 213.3202 (m)(1).

Disciplining Career SES Members

An agency may take a disciplinary action against a career SES member only for
misconduct, neglect of duty, malfeasance, or failure to accept a directed reassignment or
to accompany a position in a transfer of function. A career SES appointee removed for
disciplinary reasons has no placement rights and must be removed from Federal
employment.

During Probation:

The procedures below apply to disciplinary removals of probationary career SES
appointees who were not covered by 5 U.S.C. 7511 (subchapter II of chapter 75, Adverse
Actions) immediately before being appointed to the Senior Executive Service.28

To remove a probationary career appointee for disciplinary reasons, an agency must
provide at least 1 day’s written notice to the probationer. This notice must include the
following:

        The effective date of removal; and
        The basis for removal including the acts of misconduct, neglect of duty,
         malfeasance, or failure to accept a directed reassignment or to accompany a
         position in a transfer of function.

However, if the proposed removal is based in whole or in part on conditions arising
before appointment, the agency must give the appointee:

        An advance written notice stating the specific reasons;
        A reasonable opportunity to reply; and
        A written decision showing the reasons for the action and the effective date and
         provided at or before the time the action will be made effective.29



27
   5 U.S.C. § 3594(b); 5 C.F.R. § 359.701(b).
28
   See 5 C.F.R. § 359.403.
29
   5 C.F.R. § 359.404.

                                                17
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The probationary removal is not appealable to MSPB, but the probationer may initiate an
EEO complaint challenging an action that is believed to have been taken based upon
legally prohibited discrimination or OSC if it is believed to have been taken based upon a
prohibited personnel practice.

After Probation (and for certain probationary career and SES limited appointees):

There are two adverse actions available for agencies when taking discipline against 1) a
non-probationary career SES appointee, 2) a probationary career SES appointee who was
covered under 5 U.S.C. § 7511 immediately before the SES appointment, and/or 3) an
SES limited term or limited emergency appointee who was covered by 5 U.S.C. § 7511
immediately before the SES appointment while serving under a career or career-
conditional or equivalent appointment in another position within the same agency.30 The
two adverse actions available to agencies are removal and suspensions for more than 14
days. These actions may be appealed to the MSPB or be raised in an EEO or OSC
complaint. An agency may not suspend an SES appointee for 14 days or less.31
Supervisors should work with their employee relations staff and legal office when
considering these actions.

The following steps will take place if it is determined that an appealable adverse action is
appropriate:32

     1. The agency will issue a written notice of proposed action, which will be effective
        no earlier than 30 calendar days from the date of the proposal, if the action is
        found warranted. This notice will state the specific reasons for the proposed
        action, such as misconduct, neglect of duty, malfeasance, or declination of a
        reassignment or transfer of function, and inform the appointee of his or her right
        to review the material relied upon to support the reasons for action provided in the
        notice;
     2. The appointee may choose to have a representative but may not choose a
        representative whose representation will cause a conflict of interest or position, or
        an employee of the agency whose release from his or her official position would
        give rise to unreasonable costs or whose priority work assignments preclude his or
        her release from official duties;33
     3. The appointee must be provided a reasonable time, but not less than 7 days to
        submit a written and/or oral reply to the proposal letter, at the appointee’s
        discretion, and provide supporting documentation;
     4. The appointee must be provided a reasonable period of time to submit medical
        documentation if the appointee wishes the agency to consider any medical
        conditions which may have affected the basis for the adverse action. It should be


30
   See 5 U.S.C. § 7541(1); 5 C.F.R. § 359.403(a)(2); 5 C.F.R. § 752.601(c).
31
   See 5 C.F.R. § 752.601(b).
32
   5 C.F.R. § 752 Subpart F.
33
   5 C.F.R. § 752.604(e).

                                                    18
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          noted, however, that the agency may hold disabled appointees with reasonable
          accommodation to the same standards of conduct as non-disabled appointees; 34
       5. A deciding official reviews the proposal, supporting documentation, medical
          documentation if submitted, and any reply provided by the appointee;
       6. The deciding official determines whether the reasons for the proposed action are
          supported, and if so, whether the proposed penalty is warranted after taking into
          consideration any mitigating and aggravating factors, and issues a written
          decision letter stating the deciding official’s conclusion as to the appropriate
          action. The decision letter will provide reasons for the decision and inform the
          appointee of any appeal rights he or she may have if an adverse action is taken;
          and
       7. The agency will maintain copies of the notice of proposed action, the appointee’s
          written reply, a summary of the appointee’s oral reply, if any, the decision notice,
          and any supporting material. The agency will furnish these documents to the
          MSPB and the appointee upon request.

Excused Absence (Administrative Leave) – to Be Used in Rare Circumstances

Similar to the earlier discussion on excused absence (administrative leave) for non-SES
Federal employees, approval of excused absence for SES members should be limited to
situations involving brief absences. Agencies should monitor the situation and move
toward longer-term actions when it is necessary, appropriate, or prudent to do so. For
additional information on using administrative leave for SES Federal employees, supra
pp. 14.

Reduction in Pay for Performance or Disciplinary Reasons:

As provided in 5 C.F.R. § 534.404(j), an agency may reduce the pay of a career SES
appointee during or after the probationary period by not more than 10 percent without the
employee’s consent only—

          If the senior executive has received a less than fully successful (i.e., “minimally
           satisfactory” or “unsatisfactory”) annual summary rating or has otherwise failed
           to meet the performance requirements for a critical element; or
          As a disciplinary or adverse action resulting from conduct-related activity,
           including, but not limited to, misconduct, neglect of duty, or malfeasance.

The following steps will take place if it is determined that a reduction in pay is
appropriate:

       1. The agency will provide written notice of the reduction at least 15 days in
          advance of its effective date;
       2. The appointee may choose to be represented;


34
     5 C.F.R. § 752.604(f).

                                                19
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     3. The appointee will have at least 7 days to respond to the notice orally and/or in
        writing and to furnish affidavits and other documentary evidence;
     4. The agency will provide a written decision and specific reasons for the pay
        reduction at the earliest practicable date after the executive’s response; and
     5. The appointee will have an opportunity to request, within 7 days after that
        decision, reconsideration by the head of the agency, whose determination is final
        and not subject to further review.

Effects of 120-Day Moratoriums:

Effect of 120-day Moratorium on Removals of Career SES Employees

The law provides at 5 U.S.C. § 3592(b) that a non-probationary career SES member may
not be involuntarily removed under that section (i.e., based upon performance):

        Within 120 days after an appointment of the head of the agency; or
        Within 120 days of appointment of a career appointee’s most immediate
         supervisor who is a non-career appointee and has the authority to remove the
         career appointee. (For this purpose, a “non-career appointee” includes an SES
         non-career, SES limited, Schedule C and Executive Schedule appointee. “Most
         immediate supervisor” refers to the non-career appointee nearest to a career
         appointee in the supervisory chain who has authority to remove that career
         appointee). 35

This moratorium does not restrict the removal of a non-probationary career SES member
who receives a final rating of “unsatisfactory” under the agency’s SES performance
appraisal system prior to the appointment of the new agency head or non-career
appointee that initiated the 120-day moratorium on removals.

This moratorium restricts removal of a probationary SES member under 5 U.S.C. § 3592
during the 120-day period, except for such a disciplinary removal that was initiated
before the appointment of the new agency head or non-career appointee. Under certain
circumstances, an agency may invoke an exception to enable a disciplinary removal of a
probationer that was not initiated before the appointment of the new agency head or non-
career appointee.36

Since this moratorium applies only to removals under 5 U.S.C. § 3592, it does not restrict
removal of a non-probationary career appointee or a covered probationary career
appointee for disciplinary reasons under chapter 75.37




35
   5 CFR 359.503
36
   5 C.F.R. §§359.403(a)(1); 359.406; and 359.406(c).
37
   5 U.S.C. § 7541(1); 5 C.F.R. §§ 359.403(a)(2); 752.601(c).

                                                    20
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     MANAGING FEDERAL EMPLOYEES’ PERFORMANCE ISSUES
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Effect of 120 day Moratorium on Reassignment of Career SES Employees

The law provides at 5 U.S.C. 3395 that a non-probationary career SES member may not
be involuntarily reassigned:

          Within 120 days after an appointment of the head of the agency; or
          Within 120 days of appointment of a career appointee’s most immediate
           supervisor who is a non-career appointee and has the authority to remove the
           career appointee. (For this purpose, a “non-career appointee” includes an SES
           non-career, SES limited, Schedule C and Executive Schedule appointee. “Most
           immediate supervisor” refers to the non-career appointee nearest to a career
           appointee in the supervisory chain who has authority to make an initial appraisal
           of the career appointee’s performance under Chapter 43.

This moratorium does not restrict the involuntary reassignment of a non-probationary
career SES member who receives a final rating of “unsatisfactory” under the agency’s
SES performance appraisal system prior to the appointment of the new agency head or
non-career appointee that initiated the 120-day moratorium on removals, if the agency
decides to reassign rather than remove the appointee.38 This moratorium also does not
restrict any disciplinary action initiated prior to such an appointment.




38
     5 U.S.C. § 4314(b)(3).

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Useful References for Non-SES Unacceptable Performance and Discipline

      5 U.S.C. § 4303, 5 C.F.R. § 432

      5 U.S.C. §§ 7501-7514, 5 C.F.R. § 752, Subparts B and D

      5 U.S.C. § 3321, 5 C.F.R. § 315, Subpart H


Useful References for SES Unacceptable Performance and Discipline

      5 U.S.C. §§ 3592, 4311-4315, 5 C.F.R. § 359, Subparts D and E

      5 U.S.C. §§ 7541-7543, 5 C.F.R. § 752 Subpart F

      5 U.S.C. § 3594, 5 C.F.R. § 359, Subpart G, 5 C.F.R. § 213.3202 (m)(1)




                                          22
